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         ALABAMA APPLICANTS : ANY PERSON WHO KNO WINGLY PRESENTS A FALSE OR FRAUDULENT C LAIM FOR
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         KENTUCKY APPLICANTS: ANY PERSON WHO KNO WINGLY AND W
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PUERTO RICO APPLICANTS : ANY PERSON WHO KNO WINGLY AND WITH I
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RHODE ISLAND APPL
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           EXHIBIT 2
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    0)    "Other Property" or proper
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